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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division

  ADVANCED TRAINING GROUP                 )
  WORLDWIDE, INC.                         )
                                          )
               Plaintiff,                 )
                                          )
  v.                                      )              Case No.: 1:19-cv-00505-TSE-TCB
                                          )
  PROACTIVE TECHNOLOGIES, INC.            )
                                          )
              Defendant.                  )
  _______________________________________ )

                         PLAINTIFF’S REQUESTED JURY INSTRUCTIONS

          Pursuant to Federal Rule of Civil Procedure 51 and this Court’s Order dated April 17, 2020

  [D.E. No. 253], Advanced Training Group Worldwide, Inc. (“ATG” or “Plaintiff”), respectfully

  requests the Court to include in its charge to the Jury the following general and special instructions,

  and further reserves the right to file any other such instructions as may become appropriate during

  the course of trial.

  DATED: May 22, 2020                    Respectfully Submitted,

                                         ADVANDED TRAINING GROUP WORLDWIDE,
                                         INC., Plaintiff, By and Through Counsel:

                                         WHITCOMB, SELINSKY, PC

                                 By:                    /s/
                                         SUSAN A. AUSTIN (VSB No. 81333)
                                         JOSEPH A. WHITCOMB, Pro Hac Vice
                                         ARRON B. NESBITT, Pro Hac Vice
                                         2000 S. Colorado Blvd. Tower One, Suite 9500
                                         Denver, CO 80222
                                         [T](303)534-1958; [F](303)534-1949
                                         joe@whitcomblawpc.com
                                         arron@whitcomblawpc.com
                                         susan@whitcomblawpc.com
                                         Counsel for Plaintiff
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                                     CERTIFICATE OF SERVICE

            I hereby certify that on this 22nd day of May 2020, I have electronically filed the foregoing

  “PLAINTIFF’S REQUESTED JURY INSTRUCTIONS” with the Clerk of Court using the

  CM/EMF system, thereby providing notification of such filing (NEF) to the following counsel of

  record:

            Jeffrey S. Poretz, VSB No. 38529
            Laura Golden Liff, VSB No. 80618
            C. Peter Dungan, Pro Hac Vice
            Rachel T. McGuckian, Pro Hac Vice
            MILES & STOCKBRIDGE, PC
            1751 Pinnacle Drive, Suite 1500
            Tysons Corner, VA 22102
            [T] (703)610-8651; [F] (703)610-8686
            jporetz@milesstockbridge.com
            lliff@milesstockbridge.com
            pdungan@milesstockbridge.com
            rmcquckian@milesstockbridge.com
            Counsel for Defendant

                                                  By: /s/ Susan A. Austin
                                                  SUSAN A. AUSTIN (VSB # 81333)
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                                  GENERAL INSTRUCTIONS

         The plaintiff hereby requests the Court to include in its instructions to the Jury the

  following general instructions found in Federal Jury Practice and Instructions – Civil (6th ed

  updated through February 2020) – General Instructions for Federal Civil Cases.




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                                         INSTRUCTION NO. 1
                                           Opening Instruction
  Introduction

  Members of the Jury,

          We are about to begin the trial of the case you heard about during the jury selection. Before

  the trial begins, I am going to give you instructions that will help you to understand what will be

  presented to you and how you should conduct yourself during the trial.

          During the trial you will hear me use a few terms that you may not have heard before. Let

  me briefly explain some of the most common to you. The party who sues is called the plaintiff. In

  this action, the plaintiff is Advanced Training Group Worldwide, Inc. The party being sued is

  called the defendant. In this action, the defendant is Pro-Active Technologies, Inc.

          You will sometimes hear me refer to “counsel.” “Counsel” is another way of saying

  “lawyer” or “attorney.” I will sometimes refer to myself as the “Court.”

          When I “sustain” an objection, I am excluding that evidence from this trial for a good

  reason. When you hear that I have “overruled” an objection, I am permitting that evidence to be

  admitted.

          When I say “admitted into evidence” or “received in to evidence,” that this particular

  statement or the particular exhibit may be considered by you in making the decisions you must

  make at the end of the case.

          By your verdict, you will decide disputed issues of fact. I will decide all questions of law

  that arise during the trial. Before you begin your deliberation at the close of the case, I will instruct

  you in more detail on the law that you must follow and apply.

          Because you will be asked to decide the facts of this case, you should give careful attention

  to the testimony and evidence presented. Keep in mind that I will instruct you at the end of the



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  trial about determining the credibility or “believability” of the witnesses. During the trial you

  should keep an open mind and should not form or express any opinion about the case until you

  have heard all of the testimony and evidence, the lawyers’ closing arguments, and my instructions

  to you on the law.

          While the trial is in progress, you must not discuss the case in any manner among

  yourselves or with anyone else. In addition, you should not permit anyone to discuss the case in

  your presence. You should avoid reading any news articles that might be published about the case.

  You should also avoid watching or listening to any television or radio comments or comments on

  the Internet about the trial.

          From time-to-time during the trial, I may make rulings on objections or motions made by

  the lawyers. It is a lawyer’s duty to object when the other side offers testimony or other evidence

  the lawyer believes is not admissible. You should not be biased or partial against a lawyer or a

  lawyer’s client because the lawyer has made objections. If I sustain or uphold an objection to a

  question that goes unanswered by the witness, you should not draw any inferences or conclusions

  from the question. You should not infer or conclude from any ruling or other comment I may make

  that I have any opinions on the merits of the case favoring one side or the other. I do not favor one

  side or the other.

          The lawyers are not allowed to speak with you during this case. When you see the lawyers

  at recess or pass them in the halls and they do not speak to you, they are not being rude or

  unfriendly, they are simply following the law.

          During the trial, it may be necessary for me to talk with the lawyers out of your hearing

  about questions of law or procedure. Sometimes, you may be excused from the courtroom during

  these discussions. I will try to limit these interruptions as much as possible, but you should



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  remember the importance of the matter you are here to determine and should be patient even

  though the case may seem to go slowly.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 101:01
  (6th ed. through February 2020).




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                                       INSTRUCTION NO. 2
                                          Order of Trial

         The case will proceed as follows:

         First, the lawyers for each side may make opening statements. What is said in the opening

  statements is not evidence, but is simply an outline or summary to help you understand what each

  party expects the evidence to show. A party is not required to make an opening statement.

         After the opening statements, the plaintiff Advanced Training Group Worldwide, Inc. will

  present evidence in support of plaintiff’s claims and the defendant’s lawyer may cross-examine

  the witnesses. At the conclusion of the plaintiff’s case, the defendant Pro-Active Technologies,

  Inc. may introduce evidence and the plaintiff’s lawyer may cross-examine the witnesses. The

  defendant is not required to introduce any evidence or to call any witnesses. If the defendant

  introduces evidence, the plaintiff may then present rebuttal evidence.

         After the evidence is presented, the parties’ lawyers make closing arguments explaining

  what they believe the evidence has shown. What is said in the closing arguments is not evidence.

         Finally, I will instruct you on the law that you are to apply in reaching your verdict. You

  will then decide the case.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 101:02
  (6th ed. through February 2020).




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                                     INSTRUCTION NO. 3
                                          Claims

         The positions of the parties can be summarized as follows:

         Plaintiff Advanced Training Group Worldwide, Inc. claims that the defendant Pro-Active

  Technologies, Inc. breached the contract between the two companies.

         Defendant Pro-Active Technologies, Inc. denies those claims.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 101:03
  (6th ed. through February 2020).




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                                      INSTRUCTION NO. 4
                                    Province of Judge and Jury

         After all the evidence has been heard and arguments and instructions are finished, you will

  meet to make your decision. You will determine the facts from all the testimony and other evidence

  that is presented. You are the sole and exclusive judge of the facts. I must stress that you must

  accept that the rules of law that I give you, whether or not you agree with them.

         The law permits me to comment on the evidence in the case during the trial or while

  instructing the jury. Such comments are only expressions of my opinion as to the facts. You may

  disregard these comments entirely, because you are to determine for yourself the weight of the

  evidence and the credibility of each of the witnesses.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 101:10
  (6th ed. through February 2020).




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                                      INSTRUCTION NO. 5
                                         Jury Conduct

         To insure fairness, you must obey the following rules:

  1.     Do not talk to each other about this case or about anyone involved with this case until the
         end of the trial when you go to the jury room to decide on your verdict.

  2.     Do not talk with anyone else about this case or about anyone involved with this case until
         the trial has ended and you have been discharged as jurors. “Anyone else” includes
         members of your family and your friends. You may tell people you are a juror, but do not
         tell them anything else about the case.

  3.     Outside the courtroom, do not let anyone tell you anything about the case, or about anyone
         involved with it until the trial has ended. If someone should try to talk to you about the
         case during the trial, please report it to me immediately.

  4.     During the trial you should not talk with or speak to any of the parties lawyers or witnesses
         involved in this case – you should not even pass the time of day with any of them. It is
         important not only that you do justice in this case, but that you also give the appearance of
         doing justice.

  5.     Do not read any news stories or articles about the case, or about anyone involved with it,
         or listen to any radio or television reports about the case or about anyone involved with it.

  6.     Do not do any research, such as checking dictionaries, or make any investigation about the
         case on your own.

  7.     Do not make up your mind during the trial about what the verdict should be. Keep an open
         mind until after you have gone to the jury room to decide the case and you and the other
         jurors have discussed all the evidence.
  8.     If you need to tell me something, simply give a signed note to the bailiff/clerk to give to
         me.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 101:11
  (6th ed. through February 2020).



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                                     INSTRUCTION NO. 6
                        Juror Use of Electronic Technology – Before Trial

         You, as jurors, must decide this case based solely on the evidence presented here within

  the four walls of this courtroom. This means that during the trial you must not conduct any

  independent research about this case, the matters in the case, and the individuals or corporations

  involved in the case. In other words, you should not consult dictionaries or reference materials,

  search the Internet, websites, blogs, or use any other electronic tools to obtain information about

  this case or to help you decide the case. Please do not try to find out information form any source

  outside of the confines of this courtroom.

         Until you retire to deliberate, you may not discuss this case with anyone, even your fellow

  jurors. After you retire to deliberate, you may begin discussing the case with your fellow jurors,

  but you cannot discuss the case with anyone else until you have returned a verdict and the case is

  at an end.

         I know that many of you use cell phones, Blackberries, the Internet and other tools of

  technology. You also must not talk to anyone at any time about this case or use these tools to

  communicate electronically with anyone about the case. This includes your family and friends.

  You may not communicate with anyone about the case on your cell phone, through e-mail,

  Blackberry, iPhone, text messaging, or on Twitter, through any blog or website, including

  Facebook, Google+, My Space, LinkedIn, or YouTube. You may not use any similar technology

  of social media, even if I have not specifically mentioned it here. I expect you will inform me as

  soon as you become aware of another juror’s violation of these instructions.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 101:13
  (6th ed. through February 2020).

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                                       INSTRUCTION NO. 7
                                       Notetaking - Permitted

         During this trial, I will permit you to take notes. You are not required to take notes. If you

  do not take notes, you should not be influenced by another juror’s notes, but should rely upon your

  own recollection of the evidence.

         Because many courts do not permit notetaking by jurors, a word of caution is in order. You

  must not allow your notetaking to distract you from the proceedings.

         Frequently, there is a tendency to attach too much importance to what a person writes

  down. Some testimony that is considered unimportant at the time presented and not written down

  may take on greater importance later in the trial in light of all the evidence presented, the final

  arguments, and my instructions on the law.

         Accordingly, you are instructed that your notes are only a tool to aid your own individual

  memory and you should not compare your notes with other jurors in determining the content of

  any testimony or in evaluating the importance of any evidence. Your notes are not evidence, and

  are by no means a complete outline of the proceedings or a list of the highlights of the trial. Your

  memory should be your greatest asset when it comes time to deciding this case.


  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 101:15
  (6th ed. through February 2020).

                                        ALTERNATELY
                                      Notetaking – Prohibited

         I do not believe it would be useful or helpful for you to take notes during the trial. Taking

  notes may distract you so that you cannot give attention to all the testimony. Please do not take

  any notes while you are in the courtroom.

  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 101:16
  (6th ed. through February 2020).

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                                         INSTRUCTION NO. 8
                                     Questions by Jurors – Prohibited

          I do not permit jurors to ask questions of witnesses or of the lawyers. Please do not

  interrupt the lawyers during their examination of witnesses.

          If you are unable to hear a witness or a lawyer, please raise your hand immediately and I

  will see that this is corrected.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 101:18
  (6th ed. through February 2020).



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                                       INSTRUCTION NO. 9
                                       Publicity During Trial

          If there is publicity about this trial, you must ignore it. Do not read anything or listen to

  any television or radio programs about the case. You must decide this case only from the evidence

  presented in the trial.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 101:21
  (6th ed. through February 2020).



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                                     INSTRUCTION NO. 10
                                  Judge’s Questions to Witnesses

         During the trial, I may sometimes ask a witness questions. Please do not assume that I

  have any opinion about the subject matter of my questions.

         During the trial, I may sometimes ask a witness questions. Please do not think I have any

  opinion about the subject matter of my questions. I may ask a question simply to clarify a matter,

  not to help one side of the case or harm another side.

         Remember at all times that you, as jurors, are the sole judges of the facts of this case.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, §§ 101:30
  and 102:72 (6th ed. through February 2020).



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                                      INSTRUCTION NO. 11
                                        Bench Conferences

         From time to time it may be necessary for me to talk to the lawyers out of your hearing.

  The purposes of these conferences is to decide how certain matters are to be treated under the rules

  of evidence. The lawyers and I will do what we can to limit the number and length of these

  conferences.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 101:31
  (6th ed. through February 2020).



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                                       INSTRUCTION NO. 12
                                        Evidence in the Case

          The evidence in the case will consist of the following:

  1.      The sworn testimony of the witnesses, no matter who called a witness.

  2.      All exhibits received in evidence, regardless of who may have produced the exhibits.

  3.      All facts that may have been judicially noticed and that you must take as true for purposes

  of this case.

          Depositions may also be received in evidence. Depositions contain sworn testimony, with

  the lawyers for each party being entitled to ask questions. In some cases, a deposition may be

  played for you on videotape. Deposition testimony may be accepted by you, subject to the same

  instructions that apply to witnesses testifying in open court.

          Statements and arguments of the lawyers are not evidence in the case, unless made as an

  admission or stipulation of fact. A “stipulation” is an agreement between both sides that certain

  facts are true. When the lawyers on both sides stipulate or agree to the existence of a fact, you

  must, unless otherwise instructed, accept the stipulation as evidence, and regard that fact as proved.

          I may take judicial notice of certain facts or events. When I declare that I will take judicial

  notice of some fact or event, you must accept that fact as true.

          If I sustain an objection to any evidence or if I order evidence stricken, that evidence must

  be entirely ignored.

          Some evidence is admitted for a limited purpose only. When I instruct you that an item of

  evidence has been admitted for a limited purpose, you must consider it only for that limited purpose

  and for no other purpose.

          You are to consider only the evidence in the case. But in your consideration of the evidence

  you are not limited to the statements of the witness. In other words, you are not limited solely to

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  what you see and hear as the witnesses testified. You may draw from the facts that you find have

  been proved, such reasonable inferences or conclusions as you feel are justified in light of your

  experience.

          At the end of the trial you will have to make your decision based on what you recall of the

  evidence. You will not have a written transcript to consult, and it is difficult and time consuming

  for the reporter to read back lengthy testimony. I urge you to pay close attention to the testimony

  as it is given.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 101:40
  (6th ed. through February 2020).



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                                      INSTRUCTION NO. 13
                                         Burden of Proof

         When a party has the burden to prove any matter by a preponderance of the evidence, it

  means that you must be persuaded by the testimony and exhibits that the matter sought to be proved

  is more probably true than not true. You should based your decision on all of the evidence,

  regardless of which party presented it.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 101:41
  (6th ed. through February 2020).



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                                     INSTRUCTION NO. 14
                               Direct and Circumstantial Evidence

         “Direct evidence” is direct proof of a fact, such as testimony by a witness about what the

  witness said or heard or did. “Circumstantial evidence” is proof of one or more facts from which

  you could find another fact. You should consider both kinds of evidence. The law makes no

  distinction between the weight to be given to either direct or circumstantial evidence. You are to

  decide how much weight to give any evidence.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 101:42
  (6th ed. through February 2020).



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                                      INSTRUCTION NO. 15
                                      Credibility of Witnesses

         In deciding the facts, you may have to decide which testimony to believe and which

  testimony not to believe. You may believe everything a witness says, part of it, or none of it. In

  considering the testimony of any witness, you may take into account many factors, including the

  witness’ opportunity and ability to see or hear or know the things the witness testified about; the

  quality of the witness’ memory; the witness’ appearance and manner while testifying; the witness’

  interest in the outcome of the case; any bias or prejudice the witness may have; other evidence that

  may have contradicted the witness’ testimony; and the reasonableness of the witness’ testimony in

  light of all the evidence. The weight of the evidence does not necessarily depend upon the number

  of witnesses who testify.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 101:43
  (6th ed. through February 2020).

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                                      INSTRUCTION NO. 16
                                       What Is Not Evidence

         In deciding the facts of this case, you are not to consider the following as evidence:

  statements and arguments of the lawyers, questions and objections of the lawyers, testimony that

  I instruct you to disregard, and anything you may see or hear when the court is not in session even

  if what you see or hear is done or said by one of the parties or by one of the witnesses.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 101:44
  (6th ed. through February 2020).



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                                      INSTRUCTION NO. 17
                                       Ruling On Objections

         When a lawyer asks a question or offers an exhibit into evidence and a lawyer on the other

  side believes the question or exhibit is not admissible under the rules of evidence, that lawyer may

  object. If I overrule the objection, the question may be answered or the exhibit received into

  evidence. If I sustain the objection, the question cannot be answered and the exhibit cannot be

  received into evidence.

         If I sustain an objection to a question or the admission of an exhibit, you must ignore the

  question and must not guess what the answer to the question might have been. In addition, you

  must not consider evidence that I have ordered stricken from the record.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 101:49
  (6th ed. through February 2020).



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                                        INSTRUCTION NO. 18
                                      Judge’s Comments to Lawyer

         It is my duty to caution or warn an attorney who does something I believe is not in keeping

  with the rules of evidence or procedure. You are not to draw any inference against the side I may

  caution or warn during the trial.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 102:70
  (6th ed. through February 2020).



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                                       INSTRUCTION NO. 19
                                       Objections and Rulings

         Testimony and exhibits may be admitted into evidence during a trial only if they meet

  certain criteria or standards. It is a lawyer’s the duty to object when the other side offers testimony

  or an exhibit that the lawyer believes is not properly admissible under the rules of law. Only by

  offering an objection can a lawyer request and obtain a ruling from me on the admissibility of the

  evidence being offered by the other side. You should not be influenced against any lawyer or the

  lawyer’s client because the lawyer has made objections.

         Do not attempt to interpret my rulings on objections as somehow indicating how I think

  you should decide this case. I am simply making a ruling on a legal question.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 102:71
  (6th ed. through February 2020).



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                                     INSTRUCTION NO. 20
                              Judge’s Comments on Certain Evidence

         The law permits a federal judge to comment to the jury on the evidence in a case. These

  comments are only expressions of my opinion as to the facts and you may disregard them entirely.

  You are the sole judges of the facts in this case. It is your recollection and evaluation of the

  evidence that is important to the verdict in this case.

         Although you must follow my instructions about the law applicable to this case, you are

  totally free to accept or reject my observations concerning the evidence received in this case.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 102:73
  (6th ed. through February 2020).



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                                    INSTRUCTION NO. 21
             Verdict Not to Be Based on Sympathy, Bias, Guesswork, or Speculation

         Now that you have heard the evidence and the argument, it is my duty to instruct you about

  the applicable law. It is your duty to follow the law as I will state it. You must apply the law to the

  facts as you find them from the evidence in the case. Do not single out one instruction as stating

  the law, but consider the instructions as a whole. Do not be concerned about the wisdom of any

  rule of law stated by me. You must follow and apply the law.

         Nothing I say in these instructions indicates I have any opinion about the facts. You, not I,

  have the duty to determine the facts.

         You must perform your duties as jurors without bias or prejudice as to any party. The law

  does not permit you to be controlled by sympathy, prejudice, or public opinion. All parties expect

  that you will carefully and impartially consider all the evidence, follow the law as it is now being

  given to you, and reach a just verdict, regardless of the consequences.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 103.01
  (6th ed. through February 2020).



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                                     INSTRUCTION NO. 22
                       Juror Use of Electronic Communication Technologies

         During your deliberations, you must not communicate with or provide any information to

  anyone by any means about this case. You may not use any electronic device or media, such as the

  telephone, a cell phone, smart phone, iPhone, Blackberry or computer, the Internet, any Internet

  service, any text or instant messaging service, any Internet chat room, blog, or website such as

  Facebook, MySpace, Linkedln, YouTube or Twitter, to communicate to anyone any information

  about this case or to conduct any research about this case until I accept your verdict. In other words,

  you cannot talk to anyone on the phone, correspond with anyone, or electronically communicate

  with anyone about this case. You can only discuss the case in the jury room with your fellow jurors

  during deliberations. I expect you will inform me as soon as you become aware of another juror’s

  violation of these instructions.

         You may not use these electronic means to investigate or communicate about the case

  because it is important that you decide this case based solely on the evidence presented in this

  courtroom. Information on the Internet or available through social media might be wrong,

  incomplete, or inaccurate. You are only permitted to discuss the case with your fellow jurors during

  deliberations because they have seen and heard the same evidence you have. In our judicial system,

  it is important that you are not influenced by anything or anyone outside of this courtroom.

  Otherwise, your decision may be based on information known only by you and not your fellow

  jurors or the parties in the case. This would unfairly arid adversely impact the judicial process.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 103.04
  (6th ed. through February 2020).



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                                      INSTRUCTION NO. 23
                                 Instructions Apply to Each Party

         Unless I state otherwise, you should consider each instruction given to apply separately

  and individually to each plaintiff and to each defendant in the case.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 103.10
  (6th ed. through February 2020).



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                                     INSTRUCTION NO. 24
                        All Persons Equal Before the Law - Organizations

         You should consider and decide this case as a dispute between persons of equal standing

  in the community, of equal worth, and holding the same or similar stations in life. A corporation

  is entitled to the same fair trial as a private individual. All persons, including corporations and

  other organizations stand equal before the law, and are to be treated as equals.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 103.12
  (6th ed. through February 2020).



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                                       INSTRUCTION NO. 25
                                        Evidence in the Case

         Unless you are otherwise instructed, the evidence in the case consists of the sworn

  testimony of the witnesses regardless of who called the witness, all exhibits received in evidence

  regardless of who may have produced them, and all facts and events that may have been admitted

  or stipulated to [and all facts and events that may have been judicially noticed].

         Statements and arguments by the lawyers are not evidence. The lawyers are not witnesses.

  What they have said in their opening statement, closing arguments, and at other times is intended

  to help you understand the evidence, but it is not evidence. However, when the lawyers on both

  sides stipulate or agree on the existence of a fact, unless otherwise instructed, you must accept the

  stipulation and regard that fact as proved.

         [I may take judicial notice of certain facts or events. When I declare that I will take judicial

  notice of some fact or event, unless otherwise instructed you must accept my declaration as

  evidence and regard as proved the fact or event that has been judicially noticed.]

         Any evidence to which I have sustained an objection and evidence that I have ordered

  stricken must be entirely disregarded.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 103.30
  (6th ed. through February 2020).



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                                   INSTRUCTION NO. 26
                                Court’s Comments Not Evidence

         The law permits me to comment on the evidence in the case. These comments are only an

  expression of my opinion as to the facts. You may disregard my comments entirely, since you, as

  jurors are the sole judges of the facts and are not bound by my comments or opinions.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 103.33
  (6th ed. through February 2020).



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                                      INSTRUCTION NO. 27
                                      Questions Not Evidence


         If a lawyer asks a witness a question containing an assertion of fact, you may not consider

  the assertion as evidence of that fact. The lawyer’s questions and statements are not evidence.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 103.34
  (6th ed. through February 2020).



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                                  INSTRUCTION NO. 28
    Election of Foreperson; Duty to Deliberate; Communications with Court; Cautionary;
                             Unanimous Verdict; Verdict Form


         You must follow these rules while deliberating and returning your verdict:

         First, when you go to the jury room, you must select a foreperson. The foreperson will

  preside over your discussions and speak for you here in court.

         Second, it is your duty, as jurors, to discuss this case with one another in the jury and try

  to reach agreement.

         Each of you must make your own conscientious decision, but only after you have

  considered all the evidence, discussed it fully with the other jurors, and listened to the views of the

  other jurors.

         Do not be afraid to change your opinions if the discussion persuades you that you should.

  But do not make a decision simply because other jurors think it is right, or simply to reach a verdict.

  Remember at all times that you are judges of the facts. Your sole interest is to seek the truth from

  the evidence in the case.

         Third, if you need to communicate with me during your deliberations, you may send a note

  to me through the marshal or bailiff, signed by one or more jurors. I will respond as soon as possible

  either in writing or orally in open court. Remember you should not tell anyone—including me—

  how your votes stand numerically.

         Fourth, your verdict must be based solely on the evidence and on the law I have given to

  you in these instructions. The verdict must be unanimous. Nothing I have said or done is intended

  to suggest what your verdict should be—that is entirely for you to decide.

         Finally, the verdict form is simply the written notice of the decision that you reach in this

  case. [The form reads: [quote]]. You will take this form to the jury room, and when each of you

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  has agreed on the verdict[s], your foreperson will fill in the form, sign and date it, and advise the

  marshal or bailiff that you are ready to return to the courtroom.




  Source & Authority: ’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 103.50
  (6th ed. through February 2020).



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                                      INSTRUCTION NO. 29
                                   Preponderance of the Evidence

         Plaintiff Advanced Training Group Worldwide, Inc. has the burden in a civil action, such

  as this, to prove every essential element of plaintiff’s claim by a preponderance of the evidence. If

  plaintiff Advanced Training Group Worldwide, Inc. should fail to establish any essential element

  of plaintiff’s claim by a preponderance of the evidence, you should find for defendant Pro-Active

  Technologies, Inc. as to that claim.

         “Establish by a preponderance of the evidence” means evidence, which as a whole, shows

  that the fact sought to be proved is more probable than not. In other words, a preponderance of the

  evidence means such evidence as, when considered and compared with the evidence opposed to

  it, has more convincing force, and produces in your minds belief that what is sought to be proved

  is more likely true than not true. This standard does not require proof to an absolute certainty, since

  proof to an absolute certainty is seldom possible in any case.

         In determining whether any fact in issue has been proved by a preponderance of the

  evidence, unless otherwise instructed you may consider the testimony of all witnesses, regardless

  of who may have called them, and all exhibits received in evidence, regardless of who may have

  produced them.

         You may have heard of the term “proof beyond a reasonable doubt.” That is a stricter

  standard applicable in criminal cases. It does not apply in civil cases such as this. You should,

  therefore, put it out of your minds.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 104.01
  (6th ed. through February 2020).



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                                  INSTRUCTION NO. 30
          Burden of Proof Where Some Jurors Have Served on Jury In Criminal Case

         Those of you who have participated in criminal cases will have heard of “proof beyond a

  reasonable doubt.” The standard of proof in a criminal case is a stricter standard, requiring more

  proof than a preponderance of evidence [or the clear and convincing standard]. The reasonable

  doubt standard does not apply to a civil case and you should put that standard out of your mind.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 104.03
  (6th ed. through February 2020).

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                                      INSTRUCTION NO. 31
                                 “If You Find” or “If You Decide”

         When I instruct you that a party has the burden of proof on any proposition, or use the

  expression “if you find,” or “if you decide,” I mean that you must be persuaded, considering all

  the evidence in the case that the proposition is more probably true than not.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 104.04
  (6th ed. through February 2020).

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                                       INSTRUCTION NO. 32
                                 Direct and Circumstantial Evidence

            Generally speaking, there are two types of evidence presented during a trial—direct

  evidence and circumstantial evidence. “Direct evidence” is the testimony of a person who asserts

  or claims to have actual knowledge of a fact, such as an eyewitness. “Indirect or circumstantial”

  evidence is proof of a chain of facts and circumstances indicating the existence or nonexistence of

  a fact.

            The law generally makes no distinction between the weight or value to be given to either

  direct or circumstantial evidence. A greater degree of certainty is not required of circumstantial

  evidence. You are required to find the facts in accordance with the preponderance of all the

  evidence in the case, both direct and circumstantial.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 104.05
  (6th ed. through February 2020).

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                                      INSTRUCTION NO. 33
                                           Inferences

         You are to consider only the evidence in the case. However, you are not limited to the

  statements of the witnesses. You may draw from the facts you find have been proved such

  reasonable inferences as seem justified in light of your experience.

         “Inferences” are deductions or conclusions that reason and common sense lead you to draw

  from facts established by the evidence in the case.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 104.20
  (6th ed. through February 2020).

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                                     INSTRUCTION NO. 34
                                 Failure to Call Available Witness

         If a party fails to call a person as a witness who has knowledge about the facts in issue, and

  who is reasonably available to the party, and who is not equally available to the other party, then

  you may infer that the testimony of that person is unfavorable to the party who could have called

  the witness and did not.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 104.25
  (6th ed. through February 2020).

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                                        INSTRUCTION NO. 35
                                           Expert Witness

          The rules of evidence ordinarily do not permit witnesses to testify as to opinions or

  conclusions. There is an exception to this rule for “expert witnesses.” An expert witness is a person

  who by education and experience has become expert in some art, science, profession, or calling.

  Expert witnesses give state their opinions as to matters in which they profess to be expert, and may

  also state their reasons for their opinions.

          You should consider each expert opinion received in evidence in this case, and give it such

  weight as you think it deserves. If you should decide the opinion of an expert witness is not based

  upon sufficient education and experience, or if you should conclude the reasons given in support

  of the opinion are not sound, or if you feel the expert’s is outweighed by other evidence, you may

  disregard the opinion entirely.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 104.40
  (6th ed. through February 2020).

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                                        INSTRUCTION NO. 36
                                         Number of Witnesses

           The weight of the evidence is not necessarily determined by the number of witnesses

  testifying to the existence or nonexistence of any fact. You may find the testimony of a small

  number of witnesses as to any fact is more credible than the testimony of a larger number of

  witnesses to the contrary.

           You are not bound to decide any issue of fact in accordance with the testimony of any

  number of witnesses that does not produce in your minds belief in the likelihood of truth, as against

  the testimony of a lesser number of witnesses or other evidence producing such belief in your

  minds.

           The test is not which side brings the greater number of witnesses or takes the most time to

  present its evidence, but which witnesses and which evidence appeal to your minds as being most

  accurate and otherwise trustworthy.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 104.54
  (6th ed. through February 2020).

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                                      INSTRUCTION NO. 37
                                   Evidence in Electronic Format

         Exhibits received in evidence capable of being displayed electronically will be provided to

  you in that form. You will be able to view them in the jury room. Necessary equipment will be

  available to you in the jury room.

         A court technician will show you how to operate the equipment; how to locate and view

  the exhibits on the equipment. You will also be provided with a paper list of all exhibits received

  in evidence. You may request a paper copy of any exhibit received in evidence by sending a note

  through the [clerk] [bailiff]. If you need additional equipment or supplies or if you have questions

  about how to operate the equipment, you may send a note to the [clerk] [bailiff], signed by your

  foreperson or by one or more members of the jury. Do not refer to or discuss any exhibit you were

  attempting to view.

         If a technical problem or question requires maintenance or instruction, a court technician

  may enter the jury room with [the clerk] [the bailiff] present for the sole purpose of assuring that

  the only matter discussed is the technical problem. When the court technician or any nonjuror is

  in the jury room, the jury must not deliberate. No juror may say anything to the court technician

  or any nonjuror other than to describe the technical problem or to seek information about operating

  the equipment. Do not discuss any exhibit or any aspect of the case.

         The sole purpose of providing the equipment in the jury room is to enable jurors to view

  the exhibits received in evidence in this case. You may not use the equipment for any other

  purpose. At my direction, technicians have taken steps to ensure that the equipment does not permit

  access to the Internet or to any “outside” website, database, directory, game, or other material. Do

  not attempt to alter the equipment to obtain access to such materials. If you discover that the

  equipment provides or allows access to such materials, you must inform the court immediately and

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  refrain from viewing such materials.

         Do not remove the equipment or any electronic data [disk] from the jury room, and do not

  copy any such data.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 104.55
  (6th ed. through February 2020).

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                                      INSTRUCTION NO. 38
                                     Discrepancies in Testimony

         You are the sole judges of the credibility of the witnesses and the weight their testimony

  deserves. You may be guided by the appearance and conduct of a witness, or by the manner in

  which a witness testifies, or by the character of the testimony given, or by evidence contrary to the

  testimony.

         You should carefully examine all the testimony given, the circumstances under which each

  witness has testified, and every matter in evidence tending to show whether a witness is worthy of

  belief. Consider each witness’ intelligence, motive and state of mind, and demeanor or manner

  while testifying.

         Consider the witness’ ability to observe the matters as to which the witness has testified,

  and whether the witness impresses you as having an accurate recollection of these matters. Also,

  consider any relation each witness may have with either side of the case, the manner in which each

  witness might be affected by the verdict, and the extent to which the testimony of each witness is

  either supported or contradicted by other evidence in the case.

         Inconsistencies or discrepancies in the testimony of a witness, or between the testimony of

  different witnesses may or may not cause you to discredit such testimony. Two or more persons

  seeing an event may see or hear it differently.

         In weighing the effect of a discrepancy, always consider whether it pertains to a matter of

  importance or an unimportant detail, and whether the discrepancy results from innocent error or

  intentional falsehood.

         After making your own judgment, you will give the testimony of each witness such weight,

  if any, that you may think it deserves. In short, you may accept or reject the testimony of any

  witness, in whole or in part.

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         In addition, the weight of the evidence is not necessarily determined by the number of

  witnesses testifying to the existence or nonexistence of any fact. You may find that the testimony

  of a small number of witnesses as to any fact is more credible than the testimony of a larger number

  of witnesses to the contrary.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 105.01
  (6th ed. through February 2020).

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                                      INSTRUCTION NO. 39
                                   Use of Depositions as Evidence

         During the trial, certain testimony has been presented by way of deposition. The deposition

  consisted of sworn, recorded answers to questions asked of the witness in advance of the trial by

  attorneys for the parties to the case. The testimony of a witness who, for some reason, is not present

  to testify from the witness stand may be presented in writing under oath or on a videotape. Such

  testimony is entitled to the same consideration and is to be judged as to credibility, and weighed,

  and otherwise considered by you, insofar as possible, in the same way as if the witness had been

  present and had testified from the witness stand.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 105.02
  (6th ed. through February 2020).

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                                  INSTRUCTION NO. 40
                        Impeachment – Inconsistent Statement or Conduct

         A witness may be discredited or impeached by contradictory evidence or by evidence that

  at some other time the witness has said or done something, or has failed to say or do something

  that is inconsistent with the witness’ present testimony.

         If you believe any witness has been impeached and thus discredited, you may give the

  testimony of that witness such credibility, if any, you think it deserves.

         If a witness is shown knowingly to have testified falsely about any material matter, you

  have a right to distrust such witness’ other testimony and you may reject all the testimony of that

  witness or give it such credibility as you may think it deserves.

         An act or omission is “knowingly” done, if the act is done voluntarily and intentionally,

  and not because of mistake or accident or other innocent reason.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 105.04
  (6th ed. through February 2020).

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                                      INSTRUCTION NO. 41
                        Effect of Prior Inconsistent Statements or Conduct

         Evidence that, at some other time while not under oath a witness who is not a party to this

  action has said or done something inconsistent with the witness’ testimony at the trial, may be

  considered for the sole purpose of judging the credibility of the witness. However, such evidence

  may never be considered as evidence of proof of the truth of any such statement.

         Where the witness is a party to the case, and by such statement or other conduct admits

  some fact or facts against the witness’ interest, then such statement or other conduct, if knowingly

  made or done, may be considered as evidence of the truth of the fact or facts so admitted by such

  party, as well as for the purpose of judging the credibility of the party as a witness.

         An act or omission is “knowingly” done, if the act is done voluntarily and intentionally,

  and not because of mistake or accident or other innocent reason.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 105.09
  (6th ed. through February 2020).

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                                       INSTRUCTION NO. 42
                                         Duty to Deliberate

         The verdict must represent the considered judgment of each of you. In order to return a

  verdict, it is necessary that each juror agree. Your verdict must be unanimous.

         It is your duty, as jurors, to consult with one another, and to deliberate with a view to

  reaching an agreement, if you can do so without disregard of individual judgment. You must each

  decide the case for yourself, but only after an impartial consideration of the evidence in the case

  with your fellow jurors. In the course of your deliberations, do not hesitate to reexamine your own

  views, and change your opinion, if convinced it is erroneous. But do not surrender your honest

  conviction as to the weight or effect of evidence, solely because of the opinion of your fellow

  jurors, or for the mere purpose of returning a verdict.

         Remember at all times that you are not partisans. You are judges—judges of the facts. Your

  sole interest is to seek the truth from the evidence in the case.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 106.01
  (6th ed. through February 2020).

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                                      INSTRUCTION NO. 43
                                 Effect of Instruction as to Damages

         The fact I have instructed you as to the proper measure of damages should not be

  considered as indicating any view of mine as to which party is entitled to your verdict in this case.

  Instructions as to the measure of damages are given for your guidance only in the event you should

  find in favor of the plaintiff from a preponderance of the evidence in the case in accordance with

  the other instructions.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 106.02
  (6th ed. through February 2020).

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                                      INSTRUCTION NO. 44
                             Election of Foreperson – General Verdict

         Upon retiring to the jury room, you will select one of you to act as your foreperson. The

  foreperson will preside over your deliberations, and will be your spokesperson here in court.

         Verdict forms have been prepared for your convenience.[Read forms of verdict].

         You will take these forms to the jury room and, when you have reached unanimous

  agreement as to your verdict, you will have your foreperson fill in, date and sign the form that sets

  forth the verdict upon which you unanimously agree. You will then return with your verdict to the

  courtroom.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 106.04
  (6th ed. through February 2020).

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                                   INSTRUCTION NO. 45
                             Verdict Forms – Jury’s Responsibility

         Nothing said in these instructions and nothing in any verdict form prepared for your

  convenience is meant to suggest or convey in any way or manner any suggestion or hint as to what

  verdict I think you should find. What the verdict shall be is your sole and exclusive duty and

  responsibility.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 106.07
  (6th ed. through February 2020).

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                                 INSTRUCTION NO. 46
             Communications between Court and Jury during Jury’s Deliberations

         If it becomes necessary during your deliberations to communicate with me, you may send

  a note by a bailiff, signed by your foreperson or by one or more members of the jury. No member

  of the jury should ever attempt to communicate with me by any means other than a signed writing.

  I will never communicate with any member of the jury on any subject touching the merits of the

  case otherwise than in writing, or orally here in open court.

         From the oath about to be taken by the bailiffs you will note that they too, as well as all

  other persons, are forbidden to communicate in any way or manner with any member of the jury

  on any subject touching the merits of the case.

         Bear in mind also that you are never to reveal to any person—not even to me—how the

  jury stands, numerically or otherwise, on the questions before you, until after you have reached a

  unanimous verdict.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 106.08
  (6th ed. through February 2020).

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                                      INSTRUCTION NO. 47
                   Additional Instruction – When Jurors Fail Seasonably to Agree

            I have a few thoughts for you to consider in your deliberations. You should consider these

  thoughts along with the evidence received during the trial and all the instructions previously given

  to you.

            This is an important case. The trial has been expensive in terms of time, effort, and money

  to both the defense and the plaintiff. If you should fail to agree on a verdict, the case is left open

  and undecided. Like all cases, it must be disposed of at some time. A second trial would be costly

  to both sides. There does not appear any reason to believe the case can be tried again, by either

  side, better or more in more detail than it was tried before you.

            Any future jury would be selected in the same manner and from the same source as you

  were chosen. There appears no reason to believe that the case could ever be submitted to [number]

  people more conscientious, more impartial, or more competent to decide it or that more or clearer

  evidence could be produced on behalf of either side.

            These concepts are clear to all who have participated in this trial. The only reason I this

  mention these facts now is because some of the facts may have escaped your attention while you

  have been fully occupied in reviewing the evidence in the case in the light of the instructions with

  your fellow jurors. These are all matters reminding us how desirable it is that you unanimously

  agree upon a verdict.

            As stated in the instructions given at the time the case was first submitted to you for

  decision, you should not surrender your honest beliefs as to the weight or effect of evidence solely

  because of the opinion of other jurors or for the mere purpose of returning a unanimous verdict.

  However, it is your duty as jurors, to consult with one another and to deliberate with a view to

  reaching an agreement if you can do so without violating individual judgment. Each of you must

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  decide the case for yourself, but you should do so only after a consideration of the evidence in the

  case with your fellow jurors. In the course of your deliberations you should not hesitate to

  reexamine your own views and change your opinion if convinced it is erroneous.

         In order to bring [number] minds to a unanimous result you must examine the questions

  submitted to you with candor and frankness and with proper deference to and regard for the

  opinions of each other. In conferring together, each of you should pay due attention and respect to

  the views of the others and listen to each other’s arguments for the purpose of reexamining your

  own views.

         You are not partisans. You are judges—judges of the facts. Your sole interest here is to

  determine whether the plaintiff has proven each essential element of each claim concerning the

  defendant by a preponderance of the evidence. You are the exclusive judges of the credibility of

  all the witnesses and of the weight and effect of all the evidence.

         At all times no juror is expected to yield a conscientious belief the juror may have as to the

  weight or effect of evidence. Remember that, after full deliberation and consideration of all the

  evidence in the case, it is your duty to agree upon a verdict if you can do so without violating your

  individual judgment and your conscience.

         You may conduct your deliberations as you choose, but I suggest you carefully reexamine

  and reconsider all the evidence in the case bearing upon the questions before you in the light of

  the Court’s instructions on the law.

         You may be as leisurely in your deliberations as the occasion may require and you may

  take all the time you may feel is necessary.

         You may now return to the jury room and continue your deliberations in such manner as

  shall be determined by your good and conscientious judgment as reasonable men and women.



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  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 106.10
  (6th ed. through February 2020).




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                                     INSTRUCTION NO. 48
                                  Elements of Contract Formation

         A contract is a promise or set of promises for the breach of which the law gives a remedy

  or the performance of which the law in some way recognizes a duty. To be binding, a contract

  must include a manifestation of mutual assent to the terms and conditions of the contract. This is

  referred to as the “meeting of the minds.” There must be a meeting of the minds; there can be no

  contract if only one party intends to be bound.

         Because intent, including intent to be bound, is seldom susceptible to direct proof as it

  relates to a person’s state of mind, the law presumes that a person intends the natural and probable

  consequences of that person’s acts. The meeting of the minds or the mutual manifestation of intent

  may be made wholly or partly by written or spoken words or by other acts or conduct, and an

  internal or unexpressed intention not to be bound is ineffective.

         In determining whether there was any contract, you must decide whether or not there was

  a meeting of the minds between the parties with respect to the terms of the alleged oral agreement

  and a present intention to be bound.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 126.01
  (6th ed. through February 2020).



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                                     INSTRUCTION NO. 49
                                   Breach of Contract - Damages

         If you find defendant Pro-Active Technologies, Inc. breached the contract, then you must

  determine the amount of plaintiff Advanced Training Group Worldwide, Inc.’s damages. You must

  place the plaintiff Advanced Training Group Worldwide, Inc. in the same position as if the contract

  had not been breached. The plaintiff Advanced Training Group Worldwide, Inc. may recover those

  damages naturally arising from the breach of a contract.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 126.07
  (6th ed. through February 2020).



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                                       INSTRUCTION NO. 50
                                           Loss of Profits

         If you find, from a preponderance of the evidence in the case, plaintiff Advanced Training

  Group Worldwide, Inc. is entitled to a verdict, plaintiff is to be fairly compensated for all damages,

  if any, to plaintiff’s business proximately caused by defendant Pro-Active Technologies, Inc.’s

  conduct.

         In arriving at the amount of the award, you should include any damages suffered by

  plaintiff Advanced Training Group Worldwide, Inc. because of lost profits; that is to say, profits

  that plaintiff would have made, but for the unlawful conduct of defendant Pro-Active

  Technologies, Inc.

         If you should find from a preponderance of the evidence in the case, that damage to plaintiff

  Advanced Training Group Worldwide, Inc.’s business, such as a loss in the profits, was

  proximately caused by defendant Pro-Active Technologies, Inc.’s illegal conduct complained of,

  then the circumstances that the precise amount of plaintiff Advanced Training Group Worldwide,

  Inc.’s damages may be difficult to ascertain should not affect plaintiff’s recovery, particularly if

  defendant Pro-Active Technologies, Inc.’s wrongdoings have caused the difficulty in determining

  the precise amount.

         On the other hand, plaintiff Advanced Training Group Worldwide, Inc. is not to be awarded

  purely speculative damages. An allowance for lost profits may be included in the damages

  awarded, only when there is some reasonable basis in the evidence in the case for determining that

  plaintiff Advanced Training Group Worldwide, Inc. has in fact suffered a loss of profits, even

  though the amount of such loss may be difficult to ascertain.

         In arriving at the amount of any loss of profits sustained by plaintiff Advanced Training

  Group Worldwide, Inc., you are entitled to consider any past earnings of plaintiff Advanced

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  Training Group Worldwide, Inc. in the business in question, as well as any other evidence in the

  case bearing upon the issue.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 129.30
  (6th ed. through February 2020).



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                                      INSTRUCTION NO. 51
                                          Future Profits

         Future profits mean net profits and are determined by subtracting the costs and expenses

  of a business from the business’ gross revenue. The fact a plaintiff’s business may have been new

  or not well-established is not fatal to the element of damages constituting net profits. In

  determining whether or not any part of plaintiff Advanced Training Group Worldwide, Inc.’s

  damages constitute future net profits, you may consider the uncertainty making the success of a

  new business problematical, the experience of plaintiff Advanced Training Group Worldwide,

  Inc.’s officers in the business, the competition that plaintiff Advanced Training Group Worldwide,

  Inc. would have had and the general market conditions in such area.



  INSTRUCTION MODIFIED.




  Source & Authority: O’Malley, Grenig and Lee, Federal Jury Practice & Instructions, § 129.31
  (6th ed. through February 2020).



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                                       INSTRUCTION NO. 52
                                          Adverse Witness

         The plaintiff called the defendant as an adverse witness. The plaintiff is bound by as

  much of the defendant’s testimony given as an adverse witness as is clear, logical, reasonable,

  and uncontradicted.

         The plaintiff is not bound by any of the defendant’s testimony given as an adverse

  witness that conflicts with any of the other evidence in the case.




  Source & Authority: Virginia Model Jury Instructions, No. 2.030.



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                                      INSTRUCTION NO. 53
                                Definition of Business Joint Venture

         When two or more persons join in a business enterprise for their mutual benefit with an

  understanding that they are to share in the profits or losses, then each is to have a right to control

  or manage.



  INSTRUCTION MODIFIED.




  Source & Authority: Virginia Model Jury Instructions, No. 8.120.



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                                     INSTRUCTION NO. 54
                                Joint Enterprise: Right of Control

         The right to have a voice in the operation and control of the enterprise or activity must

  result from the circumstances, purpose, and nature of the joint undertaking, and not merely from a

  social act of courtesy.




  Source & Authority: Virginia Model Jury Instructions, No. 8.140.



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                                     INSTRUCTION NO. 55
                                    Definition of Material Fact

         A material fact is one which influences a person to act or not to act.




  Source & Authority: Virginia Model Jury Instructions, No. 39.020.



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                                          INSTRUCTION NO. 56
                                        Issues and Burden of Proof

         Your verdict must be based on the facts as you find them and, on the law, contained in all

  of these instructions.

         The issues in this case are:

  (1)    Was there a contract between the parties?

  (2)    If there was, did Pro-Active Technologies, Inc. breach it?

         On these issues Advanced Training Group Worldwide, Inc. has the burden of proof.

  (3)    If Advanced Training Group Worldwide, Inc. is entitled to recover, what is the amount of

  its damage?

         On these issues Advanced Training Group Worldwide, Inc. has the burden of proof.

         Your decisions on these issues must be governed by the instructions that follow.




  Source & Authority: Virginia Model Jury Instructions, No. 45.000.



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                                      INSTRUCTION NO. 57
                                            Intent

         Interpretation of a contract is primarily a determination of what the parties intended. In

  determining their intent, you should first consider the words they used.




  Source & Authority: Virginia Model Jury Instructions, No. 45.190.



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                                        INSTRUCTION NO. 58
                                     Contract Construed as a Whole

         The contract should be considered as a whole; no part of it should be ignored. The contract

  should be interpreted to give effect to each of its provisions. No word or phrase in a contract should

  be treated as meaningless if any meaning which is reasonable and consistent with other parts of

  the contract can be given to it.




  Source & Authority: Virginia Model Jury Instructions, No. 45.300.



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                                     INSTRUCTION NO. 59
                                   Ordinary Meaning of Words

         Words used by the parties should be given their ordinary, usual, and popular meaning,

  unless you find that the parties clearly intended such words to have another meaning.




  Source & Authority: Virginia Model Jury Instructions, No. 45.305.



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                                    INSTRUCTION NO. 60
                                 Construction Against the Drafter

         In interpreting a contract, you should resolve any doubts about the meaning of a word or

  phrase against the party who prepared; supplied; inserted the language in; used the language in the

  contract.




  Source & Authority: Virginia Model Jury Instructions, No. 45.310.



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                                      INSTRUCTION NO. 61
                                Practical Construction by the Parties

         If you have doubt about the meaning of the terms of a contract, the conduct of the parties

  under the contract may furnish the proper interpretation. The interpretation by the parties is entitled

  to great weight. However, any interpretation suggested or supported by the acts of the parties must

  be reasonable and not in conflict with the actual terms of the contract.




  Source & Authority: Virginia Model Jury Instructions, No. 45.330.



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                                       INSTRUCTION NO. 62
                                      Material Breach of Contract

         A material breach of contract occurs if a party failed to do something which he is bound to

  do according to the contract which is so important and central to the contract that the failure defeats

  the very purpose of the contract.




  Source & Authority: Virginia Model Jury Instructions, No. 45.400.



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                                       INSTRUCTION NO. 63
                                          Damages: Direct

         If you find your verdict for the plaintiff, then he is entitled to recover as damages all of the

  losses he sustained, including gains prevented, that are a natural and ordinary result of the breach

  and that he has proved by the greater weight of the evidence.




  Source & Authority: Virginia Model Jury Instructions, No. 45.500.



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                                      INSTRUCTION NO. 64
                                     Damages: Reasonable Proof

         The burden is on the plaintiff to prove by the greater weight of the evidence that he

  sustained damages. He is not required to prove the exact amount of his damages, but he must show

  sufficient facts and circumstances to permit you to make a reasonable estimate of them. If the

  plaintiff fails to do so, then he cannot recover for that item.




  Source & Authority: Virginia Model Jury Instructions, No. 45.510.



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                                    INSTRUCTION NO. 65
                                      Damages: Nominal

         Where only a breach of contract and no actual damage has been proved, nominal damages

  may be recovered.




  Source & Authority: Virginia Model Jury Instructions, No. 45.520.



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                                      INSTRUCTION NO. 66
                                      Damages: Consequential

         Consequential damages are damages resulting from the breach of the contract that arises

  from special circumstances actually foreseen or reasonably foreseeable by the parties when they

  made the contract. If you find your verdict in favor of the plaintiff, you may award him such

  damages as you believe by the greater weight of the evidence he sustained as a result of the breach.




  Source & Authority: Virginia Model Jury Instructions, No. 45.530.



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                                      INSTRUCTION NO. 67
                                        Finding Instruction

         You shall find your verdict for the plaintiff if he has proved by the greater weight of the

  evidence that:

     (1) there was a contract between the parties; and

     (2) the defendant breached the contract.



         You shall find your verdict for the defendant if:

     (1) the plaintiff failed to prove either or both of the elements above; or if

     (2) the defendant has proved by the greater weight of the evidence that it was impossible to
         perform the contract.




  Source & Authority: Virginia Model Jury Instructions, No. 45.600.



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                                         VERDICT FORM

     1. Do you find the Defendant, Pro-Active Technologies, Inc., in breach of the contract?

                                   Yes_________ No__________

  If you answered “YES” to Question 1, proceed to Question 2.
  If you answered “NO” to Question 1, go no further and report your verdict to the court. All jurors
  agreeing to this verdict should sign their name on the last page of this form.


     2. Did Defendant’s, Pro-Active Technologies, Inc., cause Plaintiff, Advanced Training Group
        Worldwide, Inc., to suffer damages?

                                   Yes_________ No__________

  If you answered “YES” to Question 2, proceed to Question 3.
  If you answered “NO” to Question 2, go no further and report your verdict to the court. All jurors
  agreeing to this verdict should sign their name on the last page of this form.

     3. State the total amount of damages that you award to the Plaintiff, Advanced Training Group
        Worldwide, Inc., for each of the following items of damages from the date of your verdict
        into the future:

         In doing so, state the number of years over which the amount awarded is intended to
         provide compensation.

         Loss of Task Orders: Number: __________
         Loss of Profits:            $__________

         Financial interest in the Joint Venture, Raptor Training Services: $__________




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